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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

 

EASTERN DIVISION
BRANDI AND BENJAMIN AKERS, )
)
Plaintiffs, )
) Case No. 4:13-cv-00378-HEA
vs. )
)
MEDICREDIT, INC. )
)
Defendant. )
)
OFFER OF JUDGMENT
DATED: March 14, 2013
TO: Plaintiffs, Brandi and Benj amin Akers, through their attorney, Rick Voytas, Eason

& Voytas LLC, l North Taylor Avenue, St. Louis, MO 63108

Pursuant to Rule 68 of the Federal Rules of Civil Procedure and for the purposes of
promoting settlement and avoiding the likely expense of proceeding to trial on the merits of the
claims and defenses raised herein, Defendant, Medicredit, Inc. (“Medicredit”), hereby offers to
allow judgment to be taken against it in favor of Plaintiffs, Brandi and Benj amin Akers, as to

Count I: Violations of the FDCPA, as follows:

1. The party making the Offer of Judgment is Medicredit, Inc.;

2. The Offer of Judgment is being made to Plaintiffs Brandi and Benjamin Akers;

3. Judgment shall be entered against Medicredit for statutory and actual damages in the
total amount of $1,001 for l\/ledicredit’S alleged violations including violations of the
Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq as set forth in Count l of

the Complaint;

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The Judgment entered shall also include an amount for reasonable costs and
attorneys’ fees accrued through the date of this Offer of Judgment, Reasonable costs
and attorneys’ fees are to be agreed upon by the parties, or, if the parties are unable to
agree, to be determined by the Court on application by Plaintiffs’ counsel subject to
the limitation that attorneys’ fees and costs are cut off as of the date of this Offer of

Judgment, March 14, 2013.

The Judgment entered in accordance with this Offer of Judgment is to be in total
settlement of any and all claims by Plaintiffs against Medicredit in Count l of the
Complaint herein, and said judgment shall have no effect whatsoever except in

settlement of those claims;

This Offer of Judgment is made solely for the purposes specified in Rule 68 of the
Federal Rules of Civil Procedure, and is not to be construed either as an admission
that Medicredit is liable in this action, or that Plaintiffs have suffered any damages ;

and

In accordance with Rule 68 of the Federal Rules of Civil Procedure if Plaintiffs do
not accept this Offer of Judgment Within fourteen (14) days after service of the Offer,
then the Offer shall be deemed withdrawn and evidence of this Offer will be
inadmissible except in any proceeding to recover costs. If Plaintiffs do not accept this
Offer of Judgment, and the judgment finally obtained by Plaintiffs is not more
favorable than this Offer, then Plaintiffs must pay their costs incurred after this Offer,

as well as Medicredit’s costs, as allowed by the law of this District.

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ACCEPTED:

 

Brandi Al<el'S

ACCEPTED:

 

Benjarnin Akers

DATE:

 

LATHROP & GAGE LLP

/s/ Sco!! J. Dicken.s‘on

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Attorneys for Defendant
Medicredit, Inc.

CERTIFICATE OF SERVICE

l hereby certify that a copy of the above and foregoing was served via EC!"` filing system
and First Class United States Mail, Postage Prepaid, on the following counsel of record this 14“‘
day of March, 2013:
Rick A. Voytas
Eason & Voytas, LLC
l North 'l`aylor Avenue
St. Louis, MO 63108

Attorney for Plaintiff

/S/ Scoh‘ S. Dic’ken.s‘on

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